            Case 1:21-mc-00110-DLF Document 6 Filed 10/12/21 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

JOHN DOES 1 THROUGH 7,

               Plaintiffs,

v.                                                   Misc Action No. 1:21-MC-00110

THE TALIBAN, AL-QAEDA,
and THE HAQQANI NETWORK,

            Defendants.
_________________________________

 MOTION OF PLAINTIFFS’ FOR ENTRY OF JUDGMENT AGAINST GARNISHEES
 THE INTERNATIONAL MONETARY FUND AND THE INTERNATIONAL BANK
             FOR RECONSTRUCTION AND DEVELOPMENT

       Plaintiffs, John Does 1 through 7, through undersigned counsel, and pursuant to D.C.

Code §§ 16-521(a) and 16-526(b), made applicable to these proceedings through Fed. R. Civ. P.

69, and pursuant to section 201 of the Terrorism Risk Insurance Act of 2002, codified at 28

U.S.C. § 1610 note (“TRIA”), hereby move this Court for a Judgment against garnishees the

International Monetary Fund (“IMF”) and the International Bank of Reconstruction and

Development (the “IBRD”), in the amount of $138,418,741, plus interest at the rate applicable

pursuant to 28 U.S.C. 1961, and the costs incurred by Plaintiffs in the prosecution of this Motion,

and in support state:

       1.      Plaintiffs, John Does 1 though 7, were victims of a massive bomb attack by the

Taliban, Al-Qaeda, and the Haqqani Network in Kabul, Afghanistan on January 4, 2016. On that

date, Defendants, acting in concert, detonated 3,000 pounds of explosives outside a compound

where Plaintiffs, who were working as civilian contractors, were working and staying. Plaintiffs

were within the blast radius and were gravely injured.




                                                1
            Case 1:21-mc-00110-DLF Document 6 Filed 10/12/21 Page 2 of 4




       2.      On November 5, 2020, Plaintiffs obtained a Judgment in the United States District

Court for the Northern District of Texas against The Taliban, Al-Qaeda, and The Haqqani

Network for an amount totaling One Hundred Thirty-Eight Million Four Hundred Eighteen

Thousand Seven Hundred Forty-One Dollars and zero cents ($138,418,741) in compensatory

damages, jointly and severally for an act of terrorism committed by the Judgment Debtors. See

Final Default Judgment, John Does 1 through 7 v. the Taliban, et al., No. 20-00605 (N.D. Texas

Nov. 5, 2020) (DE 22).

       3.      The Judgment remains due and owing.

                                         The IMF Writ

       4.      On September 17, 2021, the Clerk of the Court issued a Writ of Attachment on

Judgment Other Than Wages, Salary and Commissions (the “IMF Writ”) to the IMF seeking

money, property or credits of the Taliban and/or its agencies and instrumentalities, including but

not limited to Da Afghanistan Bank. See Exhibit A.

       5.       On September 23, 2021, Plaintiffs served the IMF with the IMF Writ via process

server at 700 19th Street, N.W., Washington, DC 20431.

       6.      On September 29, 2021, Plaintiffs filed an Affidavit of Service evidencing service

of the IMF Writ. DE 4.

       7.      To this day, the IMF has not responded to the Writ of Attachment and/or the

Interrogatories in aid of execution they were served with pursuant to D.C. Code §§ 16-521(a).

                                         The IBRD Writ

       8.      On September 17, 2021, the Clerk of the Court issued a Writ of Attachment on

Judgment Other Than Wages, Salary and Commissions (the “IBRD Writ”) to the IBRD seeking




                                                2
            Case 1:21-mc-00110-DLF Document 6 Filed 10/12/21 Page 3 of 4




money, property or credits of the Taliban and/or its agencies and instrumentalities, including but

not limited to Da Afghanistan Bank. See Exhibit B.

       9.       On September 23, 2021 Plaintiffs served the IBRD with the IBRD Writ via

process server at World Bank, 1818 H Street., N.W., Washington D.C. 20433.

       10.     On September 29, 2021, Plaintiffs filed an Affidavit of Service evidencing service

of the IBRD Writ. DE 5.

       11.     On September 27, 2021, counsel for the World Bank Group sent a letter addressed

to undersigned counsel requesting that the IBRD Writ be withdrawn.

       12.     On September 28, 2021, undersigned counsel and counsel for the World Bank

Group had a telephonic conversation regarding the IBRD Writ. Undersigned counsel informed

counsel for the World Bank Group that Plaintiffs would not withdraw the writ.

                         Failure to Comply by The IMF and The IBRD

       13.     Pursuant to DC code § 16-521, both garnishees, the IMF and the IBRD, were

instructed by the writs that they “[were] required by law to file answers to the [ ] interrogatories

within ten (10) days after service of the writ...”. Both, the IMF and the IBRD failed to answer to

the interrogatories or in the alternative, “appear and show cause why a judgment of

condemnation should not be entered.” Id.

       14.     In accordance with Fed. R. Civ. P. 6, the IMF and the IBRD were required to file

answers to the interrogatories by the end of the day on October 4, 2021, during which period, and

to the present, no answers have been filed.

       15.     D.C. Code § 16-526(b) requires that when “the garnishee has failed to answer the

interrogatories … judgment shall be entered … for the whole amount of plaintiff’s claim, and

costs…”.




                                                  3
          Case 1:21-mc-00110-DLF Document 6 Filed 10/12/21 Page 4 of 4




       WHEREFORE, Plaintiffs request that judgment be entered against Garnishees, the IMF

and the IBRD, in the amount of $138,418,741, plus interest at the rate applicable pursuant to 28

U.S.C. §1961, 0.12%, and the costs incurred by Plaintiffs in the prosecution of this Motion.


Dated: October 12, 2021

                                                       Respectfully submitted,

                                                       do Campo & Thornton, P.A.
                                                       Chase Bank Building
                                                       150 S.E. 2nd Avenue, Ste. 602
                                                       Miami, Florida 33131
                                                       Telephone: (305) 358-6600
                                                       Facsimile: (305) 358-6601

                                                       By:    s/ John Thornton
                                                              John Thornton
                                                              Florida Bar No. 004820
                                                              jt@dandtlaw.com


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 12, 2021, a true and correct copy of the foregoing

document was served on the IMF and the IBRD via U.S. Mail at 700 19th Street, N.W.,

Washington, DC 20431 and 1818 H Street, NW, Washington, DC, 20433, respectively. No

service is required on Defendants the Taliban, Al-Qaeda, and the Haqqani Network, which are in

default for failing to appear. See Fed. R. Civ. P. 5(a)(2).


                                                       s/ John Thornton
                                                       John Thornton




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